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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
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    IN RE PAYMENT CARD INTERCHANGE FEE                                     ORDER
    AND MERCHANT DISCOUNT ANTITRUST                                        05-MD-1720 (MKB) (JAM)
    LITIGATION

    This document refers to: ALL ACTIONS

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    JOSEPH A. MARUTOLLO, United States Magistrate Judge:

            On November 7, 2023, class counsel for the Rule 23(b)(3) Class (“Class Counsel”) filed a

    letter-motion seeking an Order to Show Cause regarding a website, settlement2023.org, that

    allegedly attempts to mirror the official Court-authorized website related to this matter. See Dkt.

    No. 8996, see also Dkt. No. 8994. Class Counsel seeks an Order to Show Cause as to why the

    entity or entities operating the website settlement2023.org (“the Settlement2023.org Entity”)

    should “not immediately cease and desist their conduct, cancel all contracts they have with any

    potential claimant, and take further steps to correct their actions as detailed in the attached

    proposed order.” Dkt. No. 8996. Despite the efforts described in its letter-motion and its

    November 3, 2023 status report, Class Counsel has not been able to identify the

    Settlement2023.org Entity. See Dkt. Nos. 8994, 8996.

            Having reviewed Class Counsel’s letter, it is ORDERED that:

            (1)      The Settlement2023.org Entity shall show cause on or before November 27, 2023

                     as to why Magistrate Judge Joseph A. Marutollo should not issue a Report and

                     Recommendation to United States District Judge Margo K. Brodie ordering the

                     Settlement2023.org Entity to: (a) provide a list of all class members that signed up

                     for services with settlement2023.org; (b) provide written notice to all class

                     members that signed up for services with settlement2023.org that any contract
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                 entered into is now void; (c) immediately take down the website settlement2023.org

                 and all associated pages that mirror the Court’s approved settlement website; and

                 (d) identify by name the owners or operators of the settlement2023.org website and

                 provide contact information of the same; and

          (2)    On or before November 14, 2023, Class Counsel shall serve a copy of this order on

                 the Settlement2023.org Entity. Class Counsel shall file proof of service on the

                 docket on or before November 14, 2023. In that proof of service, Class Counsel

                 shall describe the steps taken to inform the Settlement2023.org Entity of this Order.

    Dated: Brooklyn, New York
           November 10, 2023
                                                         /s/ Joseph A. Marutollo
                                                       JOSEPH A. MARUTOLLO
                                                       United States Magistrate Judge




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